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pend_ing at this time, the
stay is lifted.

 

AUG 1 2 2008

 

 

 

CLERK’S OFFICE
JL|D|C|AL PANEL ON

-05944-JST DOCument 358 Filed 08/15/08

UNITED STATES JUDICIAL PANEL
on
MULTIDISTRICT LITIGATION

 

 

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MuLTlDIsTR\cT LlTlGATloN AUG 15 2008
IN RE- CATHoDE RAY TUBE (CRT) R'gRH,/l/RD DD-W W EK,
- NORrHERNUS D,S- DlSTRchr ccoui`q'yg
ANTITRUST LITIGATIoN TH'C cAL,FoRN,A
Radio & TV Equipment, lnc. v. Chunghwa Picture Tubes, )
Ltd., et al., D. New Jersey, C.A. No. 2:08-542 ) MDL No. 1917

CONDITIONAL TRANSFER ORDER (CTO-Z)

On February 15, 2008, the Panel transferred one civil action to the United States District Court for
the Northern District of California for coordinated or consolidated pretrial proceedings pursuant to
28 U.S.C. § 1407. See 536 F.Supp.Zd 1364 (J.P.M.L. 2008). Since that time, 14 additional actions
have been transferred to the Northern District of California. With the consent of that court, a11 such
actions have been assigned to the Honorable Samuel Conti.

lt appears that the action on this conditional transfer order involves questions of fact that are
common to the actions previously transferred to the Northern District of California and assigned to

Judge Conti.

Pursuant to Rule 7.4 of the Rules of Procedure of the Judicial Panel on Multidistrict Litigation, 199
F.R.D. 425, 435-36 (2001), this action is transferred under 28 U.S.C. § 1407 to the Northern District
of California for the reasons stated in the order of February 15, 2008, and, with the consent of that
court, assigned to the Honorable Samuel Conti.

This order does not become effective until it is filed in the Offlce of the Clerk of the United States
District Court for the Northern District of California. The transmittal of this order to said Clerk shall
be stayed 15 days from the entry thereof. If any party frles a notice of opposition with the Clerk of
the Panel within this 15-day period, the stay will be continued until further order of the Panel.

 

 

A CERT|F|ED TRUE CGPY

 

 

" Jeff-ry N. Luthi
Clerk of the Panel

 

 

 

AUG 12 2008

 

 
 

 

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